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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                  AT PIKEVILLE

CIVIL ACTION NO. 20-150-DLB

ALFRED DOMENICK WRIGHT                                                       PETITIONER


v.                                     JUDGMENT


WARDEN USP HAZELTON                                                        RESPONDENT

                                       *** *** *** ***

         Consistent with the Memorandum Opinion and Order entered today, pursuant to

Federal Rules of Civil Procedure 58, it is hereby ORDERED and ADJUDGED as follows:

         (1)   Petitioner Alfred Domenick Wright’s petition for writ of habeas corpus filed

pursuant to 28 U.S.C. § 2241 (Doc. # 17) is DENIED WITHOUT PREJUDICE;

         (2)   This action is STRICKEN from the Court’s docket; and

         (3)   This is a FINAL and APPEALABLE Judgment and there is no just cause

for delay.

         This 12th day of January, 2021.




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